 Case 3:15-cv-01931-BN Document 95 Filed 11/28/18          Page 1 of 26 PageID 1110


                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

CLAUDETTE LOHR,                            §
                                           §
             Plaintiff,                    §
                                           §
V.                                         §         No. 3:15-cv-1931-BN
                                           §
PAUL GILMAN; FREDERICK D.                  §
MINTON, PhD; MARLANE                       §
MINTON; OIL MIGRATION GROUP,               §
LLC; and WAVETECH29, LLC,                  §
                                           §
             Defendants.                   §

     MEMORANDUM OPINION AND ORDER ON DEFAULT JUDGMENT

      Plaintiff Claudette Lohr has filed a motion for entry of default judgment against

Defendants Frederick Minton and Marlane Minton (the “Mintons”). See Dkt. No. 87.

For the reasons set forth below, the Court GRANTS Lohr’s motion for entry of default

judgment.

                                    Background

      This case arises from an alleged fraudulent investment scheme in oil and gas

and bio-fuel companies. See Dkt. No. 31 (Plaintiff’s Second Amended Complaint); Lohr

v. Gilman, 248 F. Supp. 3d 796, 799-804 (N.D. Tex. Mar. 30, 2017) (summarizing

Lohr’s allegations).

      Lohr’s allegations concerning the Mintons are as follows:

      Lohr, a widow living in Dallas, Texas, brings this private securities fraud action

against the Mintons and alleges that, acting in concert with Defendant Paul Gilman


                                          -1-
 Case 3:15-cv-01931-BN Document 95 Filed 11/28/18            Page 2 of 26 PageID 1111


(“Gilman”), they fraudulently induced her into making a total investment of $540,000

in two companies – Oil Migration Group, Inc. (“OMG”) and Wavetech29, LLC

(“Wavetech”) – both of which she contends are sham enterprises. According to Lohr,

the Mintons and Gilman falsely promoted these enterprises to her as owning, or

owning a license to, cutting edge audio technology that affects oil viscosity and oil

recovery procedures (hereinafter, the “OMG Technology” and the “Water Separation

Technology”). Lohr alleges that she was induced by the Mintons’ and Gilman’s myriad

fraudulent statements about the technology to invest in OMG and Wavetech, and she

charges that the Mintons and Gilman made these misrepresentations knowingly and

willfully, or in reckless disregard of their falsity, and that she relied on the statements

to her detriment.

       In or about late 2013, Lohr met Defendant Marlane Minton (“Mrs. Minton”) at

a Bible study at a church they both attended. Mrs. Minton often discussed oil and gas

businesses and bio-fuel businesses in which she and her husband, Defendant Frederick

Minton (“Mr. Minton”), allegedly invested. Mrs. Minton seemed especially interested

in discussing the Mintons’ alleged investments with widows who attended the Bible

study. In or about 2014, Lohr learned that Mrs. Minton had dental surgery and

prepared a meal, which she took to the Minton home, at which time Mr. Minton

discussed investing in OMG. The Mintons told Lohr that they had met Gilman in

connection with their investments in the movie industry, and that Gilman was seeking

investments in OMG and Wavetech to obtain funding for additional testing and to

pursue patents for the OMG Technology. The Mintons told Lohr that Gilman was

                                            -2-
 Case 3:15-cv-01931-BN Document 95 Filed 11/28/18         Page 3 of 26 PageID 1112


about to meet with investors in New York to raise money to file for patents and for

further testing of the OMG Technology. The Mintons also told Lohr that time was of

the essence to invest in OMG and Wavetech, as the value of the two entities was

certain to increase as Gilman continued to prove the application of the OMG

Technology in various areas of the oil and gas industry. The Mintons assured Lohr

that Gilman would sell his concept through OMG and Wavetech, and that she would

receive a return on her investment prior to the end of 2014. The Mintons made these

false representations with the intent that Lohr would rely upon them and invest in

OMG and Wavetech.

      Mr. Minton, who holds a Ph.D. in Psychology, and Mrs. Minton actively

participated and assisted Gilman in inducing Lohr to invest in Gilman’s sham

companies (OMG and Wavetech) and contrived OMG Technology and Water

Separation Technology. The Mintons knew that Gilman’s representations, made in his

capacity as owner or representative of OMG and Wavetech, were false. The Mintons

personally benefitted from assisting Gilman in inducing Lohr into investing in the

sham companies and contrived technologies.

      Mr. Minton, whom Lohr met at the church she attends, used his training in

psychology to cultivate a relationship of trust with Lohr, even going so far as

counseling her free of charge, notwithstanding that his professional counseling license

had expired. During all relevant times, the Mintons reassured Lohr of Gilman’s ability

to create the technology and vouched for his credibility and trustworthiness so as to

convince Lohr of the legitimacy of the OMG Technology and the Water Separation

                                          -3-
 Case 3:15-cv-01931-BN Document 95 Filed 11/28/18          Page 4 of 26 PageID 1113


Technology, as well as the legitimacy of the companies Gilman created and in which

he was actively seeking investors, all despite the Mintons’ knowledge that Gilman’s

representations were false. The Mintons’ assurances often involved referencing the

“Christian God” to cause Lohr to trust the representations, as the Mintons and Lohr

attended the same church. It was common that the Mintons would pray with Lohr, and

the prayers often included a petition for Lohr to get accustomed to being someone

wealthy, as well as a petition for blessings for Gilman. The Mintons’ reassurances

directly assisted, and aided and abetted, OMG, Wavetech, Raymond McGlamery, and

Gilman “in pilfering” Lohr’s money.

      In furtherance of their scheme, Mr. Minton provided Lohr with counseling

regarding how to “fit in” with the “rich folk” at the Bonaventure in preparation for her

receipt of “millions” from her investment. Mr. Minton discussed how Lohr would set

up foundations to handle the “millions” that he indicated she would be receiving from

her investments. Mr. Minton made these reassuring comments despite knowing

Gilman’s representations regarding OMG Technology and Water Separation

Technology were false.

      On June 3, 2015, Lohr filed this lawsuit. See Dkt. No. 1. At the core of the

lawsuit are Lohr’s allegations that Gilman and the Mintons, motivated by personal

profit, knowingly participated in setting up OMG and Wavetech, shell companies that

purportedly owned an interest in contrived technology (OMG Technology and Water

Separation Technology), for the sole purpose of fraudulently inducing Lohr to invest

her money. In total, Lohr invested $540,000 in OMG and Wavetech.

                                          -4-
 Case 3:15-cv-01931-BN Document 95 Filed 11/28/18        Page 5 of 26 PageID 1114


      Lohr filed her Complaint on June 3, 2015. See Dkt. No. 1.

      Frederick Minton was served with summons and a copy of the complaint by

personal service on June 8, 2015, see Dkt. No. 5, and Marlane Minton was served

with15cv1931 summons and a copy of the complaint on June 15, 2018, see Dkt. No. 7.

      The Mintons filed a motion to dismiss on August 10, 2015. See Dkt. No. 11. The

Court denied the Mintons’ original motion to dismiss as moot on October 5, 2015. See

Dkt. No. 22.

      Lohr filed and served her First Amended Complaint on the Minton Defendants

on September 7, 2015. See Dkt. No. 7, 2015. The Mintons filed a motion to dismiss the

amended complaint on September 28, 2015. See Dkt. No. 20. The Court granted in part

and denied in part the Mintons’ motion to dismiss the amended complaint on March

30, 2017. See Dkt. No. 30.

      Lohr filed and served her Second Amended Complaint on the Mintons on April

20, 2017. See Dkt. No. 31.

      United States District Judge Sam A. Lindsay was the presiding judge in this

action until May 30, 2017, when it was reassigned to the undersigned United States

magistrate judge, see Dkt. No. 38, after the Court received notice that all parties

consent to trial before, and entry of final judgment by, the undersigned under 28

U.S.C. § 636(c), see Dkt. No. 36.

      On June 1, 2017, the Court entered an order granting a motion to withdraw as

counsel for the Mintons filed by Toby M. Galloway and the law firm of Kelly Hart &



                                         -5-
 Case 3:15-cv-01931-BN Document 95 Filed 11/28/18          Page 6 of 26 PageID 1115


Hallman LLP, and Philip H. Hilder and the law firm of Hilder & Associates, P.C.,

based on the Mintons’ failure to pay counsel under a written agreement. See Dkt. No.

44.

      On July 5, 2017, Lohr filed a motion to compel the Mintons to file answers to the

Second Amended Complaint. See Dkt. No. 47. On July 27, 2017, the Court granted the

motion and ordered the Mintons to file answers to Plaintiff’s Second Amended

Complaint by August 10, 2017. See Dkt. No. 52.

      On August 8, 2017, the Mintons filed responses to interrogatories, requests for

production, and requests for admissions. See Dkt. No. 56.

      On August 28, 2017, Lohr filed a motion to strike the documents filed by the

Mintons on August 8, 2017 as an “answer” to the Second Amended Complaint. See Dkt.

No. 63.

      On November 8, 2017, the Court granted in part and denied in part the motion

to strike. The Court stated that

      [t]he discovery responses filed by Frederick D. Minton and Marlane
      Minton do not constitute an answer to Plaintiff’s Second Amended
      Complaint as required by Federal Rule of Civil Procedure 8(b) ... and [t]he
      Court will not treat those discovery responses as the answer that the
      Court previously ordered the Mintons to file by August 10, 2017.

The Court further ordered the Mintons to file a formal answer by December 8, 2017

and stated that

      [i]f the Mintons do not – by December 8, 2017 – file an answer or
      otherwise respond to Plaintiff’s Second Amended Complaint in
      compliance with the Federal Rules of Civil Procedure, they will be in
default under Federal Rule of Civil Procedure 55. The Court one final time admonishes
the Mintons that the failure to timely file answers to Plaintiff’s Second Amended

                                          -6-
 Case 3:15-cv-01931-BN Document 95 Filed 11/28/18         Page 7 of 26 PageID 1116


Complaint may result in the allegations contained in Plaintiff’s Second Amended
Complaint being admitted and default judgment being rendered against them.

See Dkt. No. 66.

      The Mintons did not file an answer or otherwise respond to Plaintiff’s Second

Amended Complaint by December 8, 2017.

      On December 12, 2017, the Court entered an order directing the clerk of the

court to enter default as to the Mintons because they “failed to plead or otherwise

defend as required,” and ordered Lohr to file a motion for default judgment by

December 29, 2017. See Dkt. No. 75. The Clerk made an entry of default as to the

Mintons on December 12, 2017. See Dkt. No. 77.

      Also on December 12, 2017, the Mintons filed a motion to dismiss. See Dkt. No.

77. The Court considered the motion to dismiss as a motion to set aside default under

Federal Rule of Civil Procedure 55(c). See Dkt. No. 78. The Court abated the December

29, 2017 deadline for Lohr to file a motion for default judgment. Instead, the Court

ordered Lohr to respond to the motion to set aside default by January 2, 2018, and

ordered the Mintons to file a reply by February 3, 2018. See id. Lohr timely filed a

response. See Dkt. No. 83. The Mintons did not file a reply.

      On February 23, 2018, the Mintons finally filed an untimely answer to Plaintiff’s

Second Amended Complaint. See Dkt. No. 85.

      On March 19, 2018, the Court found that the Mintons failed to show good cause

to set the default aside and denied the Mintons’ motion to set aside default. Dkt. No.

86. The Court also ordered Lohr to file a motion for default judgment against the


                                         -7-
 Case 3:15-cv-01931-BN Document 95 Filed 11/28/18         Page 8 of 26 PageID 1117


Mintons by April 9, 2018. See id.

      Lohr filed her motion for default judgment against the Mintons on April 9, 2018.

See Dkt. No. 87. Lohr seeks entry of default judgment; liquidated damages in the

amount of $540,000; unliquidated exemplary damages in the amount of an additional

$540,000; and attorneys’ fees and expenses in the amount of $62,854.35.

      The Court held an evidentiary hearing on Plaintiff's Motion for Entry of Default

Judgment Against Defendants Frederick Minton and Marlane Minton [Dkt. No. 87] on

November 2, 2018. See Dkt. No. 94.

                                    Legal Standards

      The Court may enter a default judgment when a defendant fails to answer or

otherwise respond to a complaint within the time required by the Federal Rules and

after the Clerk makes an entry of default. See New York Life Ins. Co. v. Brown, 84 F.3d

137, 141 (5th Cir. 1996). “‘A default judgment is unassailable on the merits but only

so far as it is supported by well-pleaded allegations.’” Wooten v. McDonald Transit

Associates, Inc., 788 F.3d 490, 496 (5th Cir. 2015) (quoting Nishimatsu Constr. Co. v.

Hous. Nat’l Bank, 515 F.2d 1200, 1206 (5th Cir. 1975)).

      To obtain a default judgment, Plaintiff must make a prima facie showing of

jurisdiction. See Sys. Pipe & Supply, Inc. v. M/V Viktor Kurnatovskiy, 242 F.3d 322,

325 (5th Cir. 2001).

      There must also be a sufficient basis in the pleadings for the judgment

requested. See Wooten, 788 F.3d at 498. Federal Rule of Civil Procedure 8(a)(2)



                                          -8-
 Case 3:15-cv-01931-BN Document 95 Filed 11/28/18            Page 9 of 26 PageID 1118


“requires a pleading to contain a short and plain statement of the claim showing that

the pleader is entitled to relief. The purpose of this requirement is to give the

defendant fair notice of what the claim is and the grounds on which it rests.” Id.

(internal quotation marks omitted). “The factual allegations in the complaint need only

be enough to raise a right to relief above the speculative level, on the assumption that

all the allegations in the complaint are true (even if doubtful in fact).” Id. (internal

quotation marks omitted). “[D]etailed factual allegations are not required, but the

pleading must present more than an unadorned, the-defendant-unlawfully-harmed-me

accusation.” Id. (internal quotation marks omitted).

                                        Analysis

I.     Lohr is entitled to default judgment.

       A.     Failure to answer or comply with court orders and entry of default

       The Mintons repeatedly failed to answer or otherwise respond to Lohr’s Second

Amended Complaint, despite being ordered to do so, and finally filed an untimely

answer only after the Clerk of the Court had entered default against them. Thus,

Lohr’s request for a default judgment is contingent on whether she made a prima facie

showing of jurisdiction and pleaded her claims against the Mintons in a manner that

satisfies Rule 8.

       B.     Jurisdiction

       Lohr has sufficiently shown that the Court has jurisdiction over this matter. In

her original complaint, Lohr asserted claims for violations of Sections 5(a), (c) and

Section 17 of the Securities Act of 1933; violation of Sections 15(a) and 17, Rule 10(b)(5)

                                            -9-
Case 3:15-cv-01931-BN Document 95 Filed 11/28/18          Page 10 of 26 PageID 1119


of the Securities Exchange Act of 1933; civil RICO claims under Title 18 of the United

States Code; violation of Texas Blue Sky laws; statutory fraud; common law fraud;

money had and received; declaratory judgment for a constructive trust; piercing the

corporate veil; aiding and abetting – assisting or encouraging; and conspiracy. See Dkt.

No. 1. Accordingly, this Court has jurisdiction under 28 U.S.C. §§§ 1331, 1337, and

1367; 15 U.S.C. §§ 78aa(a) and 77v(a); and 18 U.S.C. § 1964(c).

      C.       Judgment on the pleadings

      Lohr has sufficiently pleaded her claims against the Mintons and is entitled to

default judgment on those claims. In her Second Amended Complaint, which is the live

pleading, Lohr asserted claims against the Mintons for fraud violations under Section

10(b) of the Securities Exchange Act, violation of Texas Blue Sky laws, statutory fraud,

common law fraud, aiding and abetting – assisting or encouraging, and conspiracy. See

Dkt. No. 31.

      1.       Fraud violations of Section 10(b) of the Exchange Act

      Lohr alleges that the Mintons, acting singly or in concert with Gilman, violated

Section 10(b) of the Exchange Act and Rule 10b-5 in connection with the alleged

scheme to defraud her of $540,000. See Dkt. No. 31 at 16.

      Section 10(b) of the Exchange Act prohibits “in connection with the purchase or

sale of any security ... any manipulative or deceptive device or contrivance in

contravention of such rules and regulations as the [SEC] may prescribe as necessary

or appropriate in the public interest or for the protection of investors.” 15 U.S.C. §

78j(b). Rule 10b-5, which implements section 10(b), makes it unlawful:

                                           -10-
Case 3:15-cv-01931-BN Document 95 Filed 11/28/18           Page 11 of 26 PageID 1120


      (a) To employ any device, scheme, or artifice to defraud,

      (b) To make any untrue statement of a material fact or to omit to state a
      material fact necessary in order to make the statements made, in the
      light of the circumstances under which they were made, not misleading,
      or

      (c) To engage in any act, practice, or course of business which operates or
      would operate as a fraud or deceit upon any person, in connection with
      the purchase or sale of any security.

17 C.F.R. § 240.10b-5. To state a claim under Section 10(b) and Rule 10b-5, a plaintiff

must allege: “(1) a material misrepresentation or omission by the defendant; (2)

scienter; (3) a connection between the misrepresentation or omission and the purchase

or sale of a security; (4) reliance upon the misrepresentation or omission; (5) economic

loss; and (6) loss causation.” Stoneridge Inv. Partners, LLC v. Scientific-Atlanta, Inc.,

552 U.S. 148, 157 (2008) (citing Dura Pharms., Inc. v. Broudo, 544 U.S. 336, 341–42,

(2005)).

      Lohr alleges that the Mintons, directly or indirectly, singly or in concert with

others, in connection with the purchase or sale of securities, by use of the means and

instrumentalities of interstate commerce and use of the mails have: (a) employed

devices, schemes, and artifices to defraud; (b) made untrue statements of material fact

and omitted to state a material fact necessary to make the statements made, in light

of the circumstances under which they were made, not misleading; and (c) engaged in

acts, practices, and courses of business which operate or would operate as fraud and

deceit upon purchasers, prospective purchases, and any other persons. Lohr also

alleges that the Mintons made the misrepresentations and omissions knowingly or


                                          -11-
Case 3:15-cv-01931-BN Document 95 Filed 11/28/18            Page 12 of 26 PageID 1121


with severe recklessness regarding the truth. See Dkt. No. 31. Lohr sets out detailed

allegations regarding the Mintons and their alleged role in the scheme to defraud her.

Lohr also alleges how she relied on the alleged representations and alleges what the

Mintons received, to the extent of her knowledge, as a result of her reliance on the

misrepresentations. Lohr has sufficiently pleaded her claim against the Mintons for

violations of Section 10(b) of the Exchange Act.

      2.     Texas Blue Sky Laws, statutory fraud and common law fraud

      Lohr asserts claims against the Mintons for violations of the Texas Blue Sky

Laws. See Tex. Civ. Stat. Ann. art. 18.581-33 (Vernon 2001). Lohr alleges that the

Mintons made misrepresentations of relevant facts and/or failed to disclose material

facts necessary in order to make the statements made, in light of the circumstances

under which they are made, not misleading during the sale and/or purported sale of

securities to her. As a result of the misrepresentations of relevant facts and/or failure

to disclose material facts, the Mintons are liable to Lohr pursuant to Tex. Civ. Stat.

Ann. art. 19.581-33(A)(2). Lohr alleges that, to the extent that the Mintons are not the

seller and/or issuer of the securities sold to Lohr, but rather directly or indirectly

control the seller and/or issuer of the securities sold to Lohr, the Mintons are liable to

Lohr pursuant to Tex. Civ. Stat. Ann. art. 19.581-33(F)(1). And Lohr alleges that, to

the extent that the Mintons are neither the seller and/or issuer of the securities sold

to Lohr nor a person who either directly or indirectly controls the seller and or issuer

of the securities sold to Lohr but directly or indirectly with the intent to deceive or

defraud or with reckless disregard for the truth or the law materially aided the seller

                                          -12-
Case 3:15-cv-01931-BN Document 95 Filed 11/28/18            Page 13 of 26 PageID 1122


or issuer of a security to Lohr, the Mintons are liable to Lohr pursuant to Tex. Civ.

Stat. Ann. art. 19.581-33(F)(3). See Dkt. No. 31 at 16-17.

      The Texas Securities Act (“TSA”) imposes liability on those who sell securities

“by means of an untrue statement of a material fact or an omission to state a material

fact” and imposes liability on a person who “materially aids a seller, buyer, or issuer

of a security” if the person acts “with intent to deceive or defraud or with reckless

disregard for the truth or the law.” Sterling Trust Co. v. Adderley, 168 S.W.3d 835, 837

(Tex. 2005) (quoting TEX. REV. CIV. STAT. ANN. art. 581-33F(2)).

      The elements of statutory fraud are: (1) a transaction involving real estate or

stock; (2) the defendant made a false representation of fact, a false promise, or

benefitted by not disclosing a third party’s representation or promise was false; (3) the

false representation or promise was made for the purpose of inducing the claimant to

enter into a contract; and (4) the plaintiff relied on the false representation or promise

in entering into the contract. See TEX. BUS. & COM. CODE § 27.01(a).

      The elements of common law fraud are: (1) the defendant made a representation

to the plaintiff; (2) the representation was material; (3) the representation was false;

(4) when the defendant made the representation the defendant knew it was false or

made the representation recklessly and without knowledge of its truth; (5) the

defendant made the representation with the intent that the plaintiff act on it; (6) the

plaintiff relied on the representation; and (7) the representation caused the plaintiff

injury. See Shandong Yinguang Chem. Indus. Joint Stock Co. v. Potter, 607 F.3d 1029,

1032-33 (5th Cir. 2010) (citing Ernst & Young, L.L.P. v. Pacific Mut. Life Ins. Co., 51

                                          -13-
Case 3:15-cv-01931-BN Document 95 Filed 11/28/18           Page 14 of 26 PageID 1123


S.W.3d 573, 577 (Tex. 2001)).

      Lohr’s claims against the Mintons for violations of Texas’s Blue Sky Laws,

statutory fraud, and common law fraud are premised on the same allegations of false

and misleading statements referenced to support Lohr’s federal securities fraud claim,

which she alleges were known to be false when made, and which were made with the

intent to induce her to rely on them, which she alleges she did to her detriment when

she invested $540,000 in OMG and Wavetech. These claims are alleged to have arisen

out of the same set of operative facts as the federal securities fraud claims, which the

court already found sufficient to satisfy the requisite pleading standards for entry of

default judgment.

      3.     Aiding and abetting - assisting or encouraging

      Based on those same allegations, Lohr alleges that the Mintons aided, abetted,

assisted, or encouraged Gilman individually and/or by and through OMG and

Wavetech to commit a tort against her. See Dkt. No. 31 at 20-21.

      As the Court explained in Talon Transaction Technologies, Inc. v. StoneEagle

Services, Inc. and Stoneeagle Services., Inc. v. Davis:

      The Second Restatement of Torts sets forth the relevant law for a claim
      of assisting and participating: “For harm resulting to a third person from
      the tortious conduct of another, one is subject to liability if he (a) does a
      tortious act in concert with the other or pursuant to a common design
      with him, or (b) knows that the other’s conduct constitutes a breach of
      duty and gives substantial assistance or encouragement to the other so
      to conduct himself, or (c) gives substantial assistance to the other in
      accomplishing a tortious result and his own conduct, separately
      considered, constitutes a breach of duty to the third person.”

Talon Transaction Tech., Inc. v. Stoneeagle Servs., Inc., No. 3:13-cv-902-P, 2013 WL

                                          -14-
Case 3:15-cv-01931-BN Document 95 Filed 11/28/18          Page 15 of 26 PageID 1124


12172926, at *16 (Aug. 15, 2013) (quoting Helena Chem. Co. v. Texell Fed. Credit

Union, No. W-05-CA-52, 2006 U.S. Dist. LEXIS 100615, at *16-17 (W.D. Tex. June 14,

2006) (quoting Restatement (Second) of Torts § 876 (1965))); Stoneeagle Servs., Inc. v.

Davis, No. 3:13-cv-894-P, 2013 WL 12143946, at *9 (Aug. 14, 2013) (same). “Courts

have interpreted section 876 as providing the basis for ‘modern application of civil

aiding and abetting’ and to require two elements: ‘(1) knowledge that the primary

party’s conduct is a breach of duty and (2) substantial assistance or encouragement to

the primary party in carrying out the tortious act.’ ” Helena Chem. Co., 2006 U.S. Dist.

LEXIS at *17 (quoting Aetna Cas. & Sur. Co., v. Leahey Constr. Co., 219 F.3d 519,

532-33 (6th Cir. 2000)); see also C.W. v. Zirus, No. SA-10-CV-1044-XR, 2012 U.S. Dist.

LEXIS 122560, at *24 (W.D. Tex. Aug. 29, 2012) (citations omitted) (“Despite refusing

to recognize a claim based on a theory of concert of action, Texas courts have

nevertheless analyzed the concert of action question by relying on the Restatement

(Second) § 876 for a formulation of the elements that make up a concert of action

claim.”).

       Lohr alleges that the Mintons had knowledge that Gilman’s conduct individually

and/or by and through OMG and Wavetech constituted a tort, that they intended to

assist Gilman in committing the tort, that they gave Gilman assistance or

encouragement in the commission of the tort, and that their assistance and/or

encouragement was a substantial factor in enabling Gilman to commit the tort against

Lohr. Consequently, Lohr alleges that the Mintons are jointly and severally liable for



                                          -15-
Case 3:15-cv-01931-BN Document 95 Filed 11/28/18           Page 16 of 26 PageID 1125


the damages caused to her by Gilman individually and/or acting by and through OMG

and Wavetech . Lohr has sufficiently pleaded her claim against the Mintons for aiding

and abetting – assisting or encouraging.

      4.     Conspiracy

      Lohr finally asserts a conspiracy claim against the Mintons. “The essential

elements of a civil conspiracy claim are: 1) two or more persons; 2) an object to be

accomplished; 3) a meeting of the minds on the object or course of action; 4) one or more

unlawful, overt acts; and 5) damages as the proximate result .” Homoki v. Conversion

Servs., Inc., 717 F.3d 388, 404-05 (5th Cir. 2013).

      Lohr sufficiently alleges that the Mintons conspired with Gilman to defraud

Lohr and that they agreed to convince Lohr to invest in the scam companies OMG and

Wavetech, which she did, and that Lohr was damaged as a result of the fraudulent

investment scheme.

II.   Lohr is entitled to actual damages, attorney’s fees, and expenses but not
      exemplary damages.

      A.     Actual damages

      Ordinarily, damages will not be awarded without a hearing or a demonstration

by detailed affidavits establishing the necessary facts. See United Artists Corp. v.

Freeman, 605 F.2d 854, 857 (5th Cir. 1979). But, when the amount of damages and/or

costs can be determined with certainty by reference to the pleadings and supporting

documents, and when a hearing would not be beneficial to the court, a hearing is

unnecessary. See Leedo Cabinetry, 157 F.3d at 414; see also James v. Frame, 6 F.3d


                                           -16-
Case 3:15-cv-01931-BN Document 95 Filed 11/28/18           Page 17 of 26 PageID 1126


307, 310 (5th Cir. 1993). A sum capable of mathematical calculation is one that can be

“computed with certainty by reference to the pleadings and supporting documents

alone.” James, 6 F.3d at 311 (internal citations omitted).

       Here, Lohr submitted a declaration setting forth her damages. See Dkt. No. 87-1.

The damages set forth in Plaintiff’s declaration are capable of mathematical

calculation. Therefore, the Court need not conduct a hearing to enter a default

judgment and determine the amount of damages under Federal Rule of Civil Procedure

55(b)(2).

       In her declaration, Lohr states that she made six transfers of money, in the total

amount of $540,000, to Gilman for the benefit of all Defendants, including the Mintons.

Specifically, she transferred $40,000 on February 10, 2014; $150,000 on May 5, 2015;

$100,000 on July 24, 2014; $100,000 on October 10, 2014; $100,000 on February 9,

2015; and $50,000 on March 11, 2015. See Dkt. No. 87-1 at 4. Lohr also provided copies

of bank and financial records evidencing the transfers of funds. See id. at 6-58 (Exhibit

A, specifically at App. 11, 18, 29, 37, 47, 54).

       Accordingly, Lohr is entitled to $540,000 in actual damages from the Mintons.

       B.     Exemplary damages

       Lohr also seeks $540,000 in exemplary damages based on her fraud claims.

       “‘Texas courts have permitted entry of default judgment on claims for exemplary

damages where the plaintiff has pleaded and presented evidence of the basis for such

relief.’” Geiken v. Worku, No. 3:15-cv-2442-B, 2017 WL 1709692, at *9 (N.D. Tex. May



                                           -17-
Case 3:15-cv-01931-BN Document 95 Filed 11/28/18            Page 18 of 26 PageID 1127


5, 2017) (quoting Kennolyn Camp v. Wilson, No. 4:16-cv-163-ALM-CAN, 2017 WL

933129, at *3 (E.D. Tex. Feb. 17, 2017)); see also Rowe v. Reeves, No. 3:04-cv-1875-G,

2005 WL 1150192, at *1-*2 (N.D. Tex. May 13, 2005) (holding plaintiff was entitled to

recover exemplary damages, or two times the amount of economic damages, for default

judgment involving fraud after evidentiary hearing on damages); TEX. CIV. PRAC. &

REM. CODE §§ 41.003(a) (exemplary damages allowable when harm results from fraud,

malice, or gross negligence), 41.008(b)(1)(A) (exemplary damages may not exceed an

amount equal to “two times the amount of economic damages”).

       Factors supporting the reasonableness of exemplary damages include “(1) the

nature of the wrong; (2) the character of the conduct involved; (3) the degree of

culpability of the wrongdoer; (4) the situation and sensibilities of the parties concerned;

(5) the extent to which such conduct offends a public sense of justice and propriety; and

(6) the net worth of the defendant.” TEX. CIV. PRAC. & REM. CODE § 41.011(a)(1)-(6).

       Lohr submitted a Declaration in support of her motion for default judgment

against the Mintons and testified at the evidentiary hearing. She contends that the

Mintons took advantage of their relationship as members of the same church and of her

lack of investor experience to influence her to invest in scam companies.

       Lohr testified that she inherited a farm and mineral interests from her parents.

Although she is a nurse, she has managed the farm since she inherited it. The Mintons

were aware that she had received money from drilling on the mineral interests and

they encouraged her to invest it in Gilman’s companies. They would often approach her

at church about investing with Gilman. Mr. Minton told her that he didn’t know how

                                           -18-
Case 3:15-cv-01931-BN Document 95 Filed 11/28/18           Page 19 of 26 PageID 1128


much money she would get, but that “it’ll be good.”

      Lohr had no experience with oil and gas or sound technology, and the Mintons

were aware of her lack of experience. But what the Mintons explained to Lohr about

Gilman’s technology made sense to her. And Lohr also talked with a pumper on the

farm drill site about the oil and gas technology before she invested in Gilman’s

companies. She did not talk to anyone else before she made the investment, but she

talked to her CPA about it after Gilman could not provide the tax forms she needed to

file her tax returns.

      The nature of the wrong, the character of the conduct, and the degree of

culpability of the wrongdoer all weigh against the Mintons. They took advantage of

Lohr, a widow, through their shared church association and Mr. Minton’s psychological

training.

      But the situation and sensibilities of the parties does not weigh in favor of an

award of exemplary damages. Although she may not have been a sophisticated

investor, Lohr worked as a nurse and maintained the farm she inherited. She also

talked to a pumper before making the Gilman investments and admitted that she could

have consulted others, like her accountant. The Mintons’ actions may have been

distasteful, but they do not rise to the level of offending a public sense of justice and

propriety. Although no evidence concerning the Mintons’ net worth has been

submitted, the Mintons’ attorney was allowed to withdraw from representing the

Mintons because they had not paid him and the Mintons stated on the record during

a hearing on that matter that they could not afford to pay their attorney and they have

                                          -19-
Case 3:15-cv-01931-BN Document 95 Filed 11/28/18          Page 20 of 26 PageID 1129


represented themselves pro se since the attorney was allowed to withdraw. See Dkt.

Nos. 33, 43, 44.

      In this case, the Court finds that the evidence does not support an award of

exemplary damages.

      C.     Attorneys’ fees and expenses

      Lohr seeks attorneys’ fees and expenses based on her claims for violations of the

Texas Blue Sky Laws.

      Under the Texas Securities Act, a party entitled to damages may be entitled to

recover reasonable attorneys’ fees if the court finds that such recovery would be

equitable. TEX. CIV. STAT. ANN. art. 581-33(D)(7); Covenant Capital Partners v. Soil

Savers, Inc., No. 3:06-cv-399-O, 2008 WL 2941125, at *10 (N.D. Tex. July 30, 2008).

To determine whether an award of attorneys’ fees is equitable under the

circumstances, the court considers a number of factors, including: the conduct of the

parties in making the transaction, the conduct of both parties in the lawsuit, whether

the defendant benefitted from the violation, and the fiduciary relationships. See

Reynolds v. M. Rimson & Co., Civ. A. No. H-94-2894, 1996 WL 617258, at * (S.D. Tex.

Feb. 13 1996) (quoting commentary to article 581.33(D)(7)); Citizens Ins. Co. of Am. v.

Hakim Daccach, 105 S.W.3d 712, 725 (Tex. App. – Austin 2003), aff’d, 217 S.W.3d 430,

459-60 (Tex. 2004). Given Lohr’s allegations that the Mintons violated the Texas

Securities Act by making untrue statements or omissions of material fact, conspired

with Gilman to defraud Lohr, and took advantage of Lohr, including through Mr.



                                         -20-
Case 3:15-cv-01931-BN Document 95 Filed 11/28/18          Page 21 of 26 PageID 1130


Minton’s profession as a psychologist, the Court finds it equitable under the

circumstances to award Lohr her reasonable attorneys’ fees.

      Under Texas law, a claimant must segregate recoverable from unrecoverable

attorney's fees if any fees relate solely to a claim for which attorney’s fees are

unrecoverable. See Tony Gullo Motors v. Chapa, 212 S.W.3d 299, 313 (Tex. 2006).

However, “when discrete legal services advance both a recoverable and unrecoverable

claim that they are so intertwined,” the fees need not be segregated. Id.; see also

Navigant Consulting, Inc. v. Wilkinson, 508 F.3d 277, 297-99 (5th Cir. 2007).

      Here, Lohr need not segregate her attorney’s fees because her claims against the

Mintons are inextricably intertwined and the same discrete legal services advance the

claim for which attorney’s fees are recoverable (violation of the Texas Blue Sky laws)

and those for which they are not.

      “This Court uses the ‘lodestar’ method to calculate attorney’s fees.” Heidtman

v. Cnty. of El Paso, 171 F.3d 1038, 1043 (5th Cir. 1999); see Monarch Inv., LLC v.

Aurrecoechea, Cause No.: A-14-CA-1019-SS, 2017 WL 1034647, at *3-*5 (W.D. Tex.

Mar. 16, 2017) (applying the lodestar method to determine reasonable attorney’s fees

for violations of Texas Security Act). The lodestar is calculated by multiplying the

number of hours an attorney reasonably spent on the case by an appropriate hourly

rate, which is the market rate in the community for this work. See Smith & Fuller, P.A.

v. Cooper Tire & Rubber Co., 685 F.3d 486, 490 (5th Cir. 2012). The party seeking

reimbursement of attorneys’ fees bears the burden of establishing the number of hours



                                         -21-
Case 3:15-cv-01931-BN Document 95 Filed 11/28/18           Page 22 of 26 PageID 1131


expended through the presentation of adequately recorded time records as evidence.

See Watkins v. Fordice, 7 F.3d 453, 457 (5th Cir. 1993). The Court should use this time

as a benchmark and then exclude any time that is excessive, duplicative, unnecessary,

or inadequately documented. See id. The hours remaining are those reasonably

expended. There is a strong presumption of the reasonableness of the lodestar amount.

See Perdue v. Kenny A., 559 U.S. 542, 552 (2010); Saizan v. Delta Concrete Prods. Co.,

Inc., 448 F.3d 795, 800 (5th Cir. 2006).

      After calculating the lodestar, the Court may either (1) accept the lodestar figure

or (2) decrease or enhance it based on the circumstances of the case, taking into

account what are referred to as the Johnson factors. See La. Power & Light Co. v.

Kellstrom, 50 F.3d 319, 324, 329 (5th Cir. 1995); Johnson v. Ga. Highway Express, Inc.,

488 F.2d 714, 717-19 (5th Cir. 1974), overruled on other grounds by Blanchard v.

Bergeron, 489 U.S. 87, 90 (1989). The Johnson factors are: (1) the time and labor

required; (2) the novelty and difficulty of the legal issues; (3) the skill required to

perform the legal service properly; (4) the preclusion of other employment by the

attorney as a result of taking the case; (5) the customary fee; (6) whether the fee is

fixed or contingent; (7) time limitations imposed by the client or other circumstances;

(8) the monetary amount involved and the results obtained; (9) the experience,

reputation, and ability of the attorneys; (10) whether the case is undesirable; (11)the

nature and duration of the professional relationship with the client; and (12) awards

in similar cases. See Johnson, 448 F.2d at 717-19; see also Saizan, 448 F.3d at 800.



                                           -22-
Case 3:15-cv-01931-BN Document 95 Filed 11/28/18          Page 23 of 26 PageID 1132


Because the lodestar is presumed to be reasonable, it should be modified only in

exceptional cases. See Watkins, 7 F.3d at 457.

      Lohr designated her attorney, Mark Castillo, as an attorney’s fees expert. See

Dkt. No. 93, Ex. 25. Lohr’s claim for attorney’s fees is supported by Mr. Castillo’s

Declaration, Expert Fee Report, Curriculum Vitae, hearing testimony, and Curtis

Castillo, P.C. (“CCPC”) invoices. See Dkt. No. 93, Ex. 26 (Declaration); Dkt. No. 87-1

at 74-133 (Fee Report with supporting CCPC invoices); Dkt. No. 93, Ex. 27 (Fee

Report); Dkt. 93, Ex. 28 (Curriculum Vitae); Dkt. No. 93, Ex. 29 (CCPC invoices); Dkt.

No. 94 (hearing testimony). The amount of attorney’s fees sought in these documents

differs. In her motion for default judgment, Lohr seeks $55,873.84 in attorney’s fees

and expenses, and Mr. Castillo clarified at the evidentiary hearing that that is the

amount of attorney’s fees and expenses his client is seeking. See Dkt. No. 87 at 7; Dkt.

No. 94.

      Mr. Castillo declares that he is “a founding shareholder in the law firm of Curtis

Castillo PC,” is “licensed to practice law in Texas by the Supreme Court of Texas, in

all federal and bankruptcy courts within the Northern, Southern, Eastern, and

Western Districts of Texas, and in the Fifth Circuit Court of Appeals,” “received his

license to practice law in September 2000,” and is the “lead attorney of record for

Plaintiff” in this case. Mr. Castillo further declares that he personally performed or

reviewed the services described in the Declaration and that he has personal knowledge

of the legal services performed in this case.

      Mr. Castillo further declared that the standard rates charged by CCPC are $425-

                                          -23-
Case 3:15-cv-01931-BN Document 95 Filed 11/28/18            Page 24 of 26 PageID 1133


$500 per hour for shareholders; $275-$350 per hour for associate attorneys; $175 per

hour for junior associates; and $115-$150 per hour for legal clerks. Mr. Castillo’s fee

was discounted nearly thirty percent, from $425 to $300 per hour, in this case. Mr.

Castillo opines that the actual hourly rates, the range of billed rates, and the average

hourly billed rates for the CCPC attorneys and legal assistants who have provided

services on this engagement are reasonable for their level of skill and the nature of this

matter.

      Mr. Castillo declares that $62,854.35 is a reasonable and necessary amount of

attorneys’ fees and expenses in this case. He also declares that the total fees charged

for actual legal services, excluding expenses, as of August 16, 2017 is $56,743.85. He

further states that this represents 221.3 hours at a blended rate of $256.30 per hour.

Mr. Castillo believes the blended rate is within the acceptable range for a reasonable

blended rate for fraud litigation in federal court and commensurate with the rates

charged in the Northern District of Texas and Texas legal market for services like

those rendered by CCPC in this case.

      The fees sought are for 221.3 hours of work performed by Mr. Castillo, associates

Michael Myers and Chris Harbin, and law clerks from the law firm of Curtis Castillo

PC (“CCPC”). The billing records Mr. Castillo submitted reflect the work that attorneys

and law clerks from CCPC performed. The records include a narrative description of

the work done and the number of hours that it took to complete the work.

      The Court has carefully reviewed these records and finds that the 221.3 total

hours that Lohr attributes to prosecuting this case are reasonable and necessary and

                                          -24-
Case 3:15-cv-01931-BN Document 95 Filed 11/28/18          Page 25 of 26 PageID 1134


not excessive, duplicative, or inadequately documented and therefore were reasonably

expended for the tasks for which the Court has determined that Lohr should be

awarded her attorneys’ fees.

      The Court finds that blended rate of $256.30 per hour is reasonable and within

the market rate for attorneys and law clerks handling this type of litigation in the

Dallas area.

      The Court therefore finds the appropriate lodestar here to be calculated as 221.3

hours at $256.30 an hour for a total of $56,719.19. The Court notes that additional

attorneys’ fees have been incurred by Lohr after August 16, 2017, but Lohr has not

submitted evidence to support those fees.

      The Court has considered the Johnson factors but notes that the lodestar is

presumed to be reasonable and should only be modified in exceptional cases. Based on

Mr. Castillo’s representation during the hearing, the Court will reduce that amount of

attorney’s fees and expenses awarded to $55,873.84, the amount sought by Lohr in her

motion for default judgment. The court finds no exceptional circumstances to further

modify the lodestar amount.

      D.       Postjudgment interest

      Lohr is entitled to post-judgment interest. The issue of post-judgment interest

on a judgment entered in federal court is governed by federal law. See Hall v. White,

Getgey, Meyer Co., LPA, 465 F.3d 587, 594-95 (5th Cir. 2006). 28 U.S.C. § 1961

provides, in pertinent part, that “interest shall be allowed on any money judgment in

a civil case recovered in a district court” and that such “interest shall be calculated

                                         -25-
Case 3:15-cv-01931-BN Document 95 Filed 11/28/18          Page 26 of 26 PageID 1135


from the date of entry of judgment, at a rate equal to the weekly average 1-year

constant maturity Treasury yield, as published by the Board of Governors of the

Federal Reserve System, for the calendar week preceding the date of the judgment.”

28 U.S.C. § 1961(a). Lohr is entitled to an award of post-judgment interest at the rate

published for the week ending prior to the date of judgment until the date paid. See 28

U.S.C. § 1961(b).

                                     Conclusion

      Plaintiff’s Motion for Entry of Default Judgment Against Defendants Frederick

Minton and Marlane Minton [Dkt. No. 87] is GRANTED. Accordingly, Plaintiff

Claudette Lohr is entitled to Judgment against Frederick Minton and Marlane Minton,

jointly and severally, in the amount of $540,000.00 in actual damages and $55,873.84

in attorneys’ fees and expenses, for a total judgment of $595, 873.84, plus postjudgment

interest.

      SO ORDERED.

      November 28, 2018



                                        _________________________________________
                                        DAVID L. HORAN
                                        UNITED STATES MAGISTRATE JUDGE




                                         -26-
